          Case
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                     :
                                               :
           v.                                  :       Case No. 22-MJ-00184-05
                                               :
  TYLER QUINTIN BENSCH,                        :
                                               :
                       DEFENDANT.              :

                                               ORDER
         Based upon the representations in the Consent Motion to Continue and to Exclude Time

  Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

         ORDERED that the Motion is GRANTED; it is further

  ORDERED that the currently scheduled status hearing on Friday, February 24, 2023, be

  continued for good cause to Thursday, March 23, 2023, at 1 p.m.; and it is further

         ORDERED that the time between Friday, February 24, 2023, and Thursday March 23,

  2023, shall be excluded from calculation under the Speedy Trial Act, see 18 U.S.C.

  § 3161(h)(7)(A).

         The Court finds that the ends of justice served by the granting of such a continuance

  outweighs the best interests of the public and the defendants in a speedy trial, and a continuance

  will promote continuity of counsel, provide the defendants additional time to review the pre-

  indictment discovery and to continue negotiating potential pretrial resolutions.


Date: February 23, 2023
                                        ___________________________________________
                                        THE HONORABLE MOXILA A. UPADHYAYA
                                        UNITED STATES MAGISTRATE JUDGE
